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 8
                                  UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
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11
        LILLIAN JURDI, an individually and on          Case No.
12      behalf of all others similarly situated;

13                   Plaintiff,
                                                       COMPLAINT FOR
14                   v.                                VIOLATIONS OF THE CALIFORNIA
                                                       TRAP AND TRACE LAW
15      NIKE, INC., an Oregon corporation;
        DOES 1 through 25, inclusive
16                                                     (CAL. PENAL CODE § 638.51)
                     Defendant.
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 1                                         INTRODUCTION
 2           1.     Defendant Nike, Inc. (“Nike” or “Defendant”) is a footwear and clothing
 3     company. As part of Defendant’s marketing regime, Nike has partnered with TikTok to
 4     install sophisticated software on its landing page to learn the location, source, and identity
 5     of consumers who happen to land on their website.
 6           2.     Plaintiff Lillian Jurdi (“Plaintiff”) visited Defendant’s website on February
 7     29, 2024.    Without Plaintiff’s knowledge or consent, Defendant deployed a de-
 8     anonymization process to identify Plaintiff using electronic impulses generated from
 9     Plaintiff’s device, as further described herein. Defendant’s installation of the TikTok
10     tracing process violates California’s Trap and Trace Law, codified at California Penal
11     Code § 638.51.
12                                  JURISDICTION AND VENUE
13           3.     This Court has subject matter jurisdiction over this action pursuant to the
14     Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because the total matter in
15     controversy exceeds $5,000,000 and there are over 100 members of the proposed class.
16     Further, at least one member of the proposed class is a citizen of a State within the United
17     States and at least one defendant is the citizen or subject of a foreign state.
18           4.     This Court has personal jurisdiction over Defendant because, on information
19     and belief, Defendant has purposefully directed its activities to the Central District of
20     California by developing a data collection process directed to citizens on this state.
21     Defendant’s unlawful conduct is directed at and harms California residents, including
22     Plaintiff, and if not for Defendant’s contact with the forum, Plaintiff would not have
23     suffered harm.
24           5.     Venue is proper in the Central District of California pursuant to 28 U.S.C. §
25     1391 because Defendant. (1) is authorized to conduct business in this District and has
26     intentionally availed itself of the laws and markets within this District; (2) does
27     substantial business within this District; (3) is subject to personal jurisdiction in this
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 1     District because it has availed itself of the laws and markets within this District; and the
 2     injury to Plaintiff occurred within this District.
 3              6.    Defendant has sufficient minimum contacts in the State of California or
 4     otherwise purposefully avails itself of the California market. Exercising jurisdiction over
 5     Defendant would be consistent with traditional notions of fair play and substantial justice.
 6     Defendant took information from Plaintiff while she was in California, and Defendant
 7     has designed its website so that data may be gathered from California residents in this
 8     state.
 9                                               PARTIES
10              7.    Plaintiff Lillian Jurdi is a citizen of California residing within Los Angeles
11     County.
12              8.    Defendant Nike, Inc. is an Oregon corporation with its principal place of
13     business at One Bowerman Drive, Beaverton, OR 97005.
14              9.    The above-named Defendant, along with its affiliates and agents, are
15     collectively referred to as “Defendants.” The true names and capacities of the Defendants
16     sued herein as DOE DEFENDANTS 1 through 25, inclusive, are currently unknown to
17     Plaintiff, who therefore sues such Defendants by fictitious names. Each of the Defendants
18     designated herein as a DOE is legally responsible for the unlawful acts alleged herein.
19     Plaintiff will seek leave of Court to amend the Complaint to reflect the true names and
20     capacities of the DOE Defendants when such identities become known.
21              10.   Plaintiff is informed and believes that at all relevant times, every Defendant
22     was acting as an agent and/or employee of each of the other Defendants and was acting
23     within the course and scope of said agency and/or employment with the full knowledge
24     and consent of each of the other Defendants, and that each of the acts and/or omissions
25     complained of herein was ratified by each of the other Defendants.
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 1                                  FACTUAL ALLEGATIONS
 2            A.    Defendant’s Website and the Tik Tok Software.
 3            11.   Defendant is a footwear and clothing company.           Defendant operates
 4     https://www.nike.com (the “Website”). Defendant has installed on its Website software
 5     created by TikTok in order to identify website visitors (the “TikTok Software”).
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              12.   The TikTok Software acts via a process known as “fingerprinting.” Put
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       simply, the TikTok Software collects as much data as it can about an otherwise
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       anonymous visitor to the Website and matches it with existing data TikTok has acquired
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       and accumulated about hundreds of millions of Americans.
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              13.   The TikTok Software gathers device and browser information, geographic
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       information, referral tracking, and url tracking by running code or “scripts” on the
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       Website to send user details to TikTok.
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             14.    The Nike website instantly sends communications to TikTok when a user
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       lands, and every time a user clicks on a page. In the example below, the right side of the
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 1     image shows the various TikTok scripts being run by Defendant, and the electronic
 2     impulses being sent to TikTok to add to their collection of user behavior:
 3           B.     The TikTok Software is a Trap and Trace Device.
 4           15.    California Penal Code § 638.50(c). California law defines a “trap and trace
 5     device” as “a device or process that captures the incoming electronic or other impulses
 6     that identify the originating number or other dialing, routing, addressing, or signaling
 7     information reasonably likely to identify the source of a wire or electronic
 8     communication, but not the contents of a communication.”         California Penal Code §
 9     638.50(c).
10           16.    The TikTok Software is a process to identify the source of electronic
11     communication by capturing incoming electronic impulses and identifying dialing,
12     routing, addressing, and signaling information generated by users, who are never
13     informed that the website is collaborating with the Chinese government to obtain their
14     phone number and other identifying information.
15           17.    The TikTok Software is “reasonably likely” to identify the source of
16     incoming electronic impulses. In fact, it is designed solely to meet this objective.
17           18.    Users are never informed that Defendant is collaborating with the TikTok.
18     They have a reasonable belief that their web activity is “secure.” Defendant did not obtain
19     any of the Class Members’ express or implied consent to be subjected to data sharing
20     with TikTok for the purposes of fingerprinting and de-anonymization.
21           19.    CIPA imposes civil liability and statutory penalties for the installation of
22     trap and trace software without a court order. California Penal Code § 637.2; see also,
23     Moody v. C2 Educational Systems Inc., No. 2:24-cv-04249-RGK-SK, 2024 U.S. Dist.
24     LEXIS 132614 (C.D. Cal. July 25, 2024).
25           20.    Defendant did not obtain Plaintiff’s or any of the Class Members’ express
26     or implied consent to be subjected to data sharing with TikTok for the purposes of
27     fingerprinting and de-anonymization.
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 1                                      CLASS ALLEGATIONS
 2            21.     Plaintiff brings this action individually and on behalf of all others similarly
 3     situation (the “Class Members”) defined as follows:
 4                 All persons within California who within the statute of limitations
 5      period whose information was sent to TikTok by the Website through the
 6                                       TikTok Software.
 7            22.     NUMEROSITY: Plaintiff does not know the number of Class Members but
 8     believes the number to be in the thousands, if not more. The exact identities of Class
 9     Members may be ascertained by the records maintained by Defendant.
10            23.     COMMONALITY: Common questions of fact and law exist as to all Class
11     Members, and predominate over any questions affecting only individual members of the
12     Class. Such common legal and factual questions, which do not vary between Class
13     Members, and which may be determined without reference to the individual
14     circumstances of any Class Member, include but are not limited to the following:
15            a.      Whether Defendant installed the TikTok Software on the Website;
16            b.      Whether the TikTok Software is a trap and trace process as defined by law;
17            c.      Whether Plaintiff and Class Members are entitled to statutory penalties; and
18            d.      Whether Class Members are entitled to injunctive relief.
19            e.      Whether Class Members are entitled to disgorgement of data shared with
20     TikTok.
21            24.     TYPICALITY: As a person who visited Defendant’s Website and whose
22     electronic communication was subjected to a trap and trace process on Defendant’s
23     Website, they are typical of the Class.
24            25.     ADEQUACY: Plaintiff will fairly and adequately protect the interests of the
25     members of The Class. Plaintiff has retained attorneys experienced in the class action
26     litigation. All individuals with interests that are actually or potentially adverse to or in
27     conflict with the Class Members or whose inclusion would otherwise be improper are
28     excluded.

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 1            26.   SUPERIORITY: A class action is superior to other available methods of
 2     adjudication because individual litigation of the claims of all Class Members is
 3     impracticable and inefficient. Even if every Class Member could afford individual
 4     litigation, the court system could not. It would be unduly burdensome to the courts in
 5     which individual litigation of numerous cases would proceed.
 6                                  FIRST CAUSE OF ACTION
 7                         Violations of the California Trap and Trace Law
 8                                     Cal. Penal Code § 638.51
 9           27.    California’s Trap and Trace Law is part of the California Invasion of Privacy
10     Act (“CIPA”) codified at Cal. Penal Code 630, et. seq.
11           28.    CIPA was enacted due to curb “the invasion of privacy resulting from the
12     continual and increasing use of” certain technologies determined to pose “a serious threat
13     to the free exercise of personal liberties.” CIPA extends civil liability for various means
14     of surveillance using technology, including the installation of a trap and trace device.
15           29.    A “trap and trace device” as “a device or process that captures the incoming
16     electronic or other impulses that identify the originating number or other dialing, routing,
17     addressing, or signaling information reasonably likely to identify the source of a wire or
18     electronic communication, but not the contents of a communication.” California Penal
19     Code § 638.50(c).
20           30.    California Penal Code §638.51 provides that “a person may not install or
21     use…a trap and trace device without first obtaining a court order…” § 638.51(a).
22           31.    Defendant uses a trap and trace process on its Website by deploying the
23     TikTok Software on its Website, because the software is designed to capture the phone
24     number, email, routing, addressing and other signaling information of website visitors.
25     As such, the TikTok Software is solely to identify the source of the incoming electronic
26     and wire communications to the Website.
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 1           32.     Defendant did not obtain consent from Plaintiff or any of the class members
 2     before using trap and trace technology to identify users of its Website, and has violated
 3     Section 638.51.
 4           33.     CIPA imposes civil liability and statutory penalties for violations of
 5     §638.51.
 6           34.     Therefore, Plaintiff and Class Members are entitled to injunctive relief and
 7     statutory damages under California Penal Code § 637.2 and the equitable relief prayed
 8     for herein.
 9                                              PRAYER
10           WHEREFORE, Plaintiff prays for the following relief against Defendant:
11           1.      An order certifying the Class, naming Plaintiff as the representative of the
12     Class and Plaintiff’s attorneys as Class counsel;
13           2.      An order enjoining Defendant’s conduct as alleged herein and ordering
14     disgorgement of data provided to TikTok through the TikTok Software;
15           3.      Statutory damages pursuant to CIPA;
16           4.      Punitive damages;
17           5.      Reasonable attorneys’ fees and costs; and
18           6.      All other relief that would be just and proper as a matter of law or equity,
19     as determined by the Court.
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21     DATED: September 20, 2024                            TAULER SMITH LLP
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24
                                                      By:   /s/ Robert Tauler
                                                            Robert Tauler Esq.
25                                                          Attorney for Plaintiff
26
                                                            Lillian Jurdi

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 1                               DEMAND FOR JURY TRIAL
 2          Plaintiff hereby demands a trial by jury.
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 4     DATED: September 20, 2024                         TAULER SMITH LLP
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 7
                                             By:   /s/ Robert Tauler
                                                   Robert Tauler, Esq.
 8                                                 Attorney for Plaintiff
 9
                                                   Lillian Jurdi

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